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                                   8                                UNITED STATES DISTRICT COURT

                                   9                               NORTHERN DISTRICT OF CALIFORNIA

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                                  11    CHRISTOPHER CORCORAN, ET AL.,                       CASE NO. 15-cv-03504-YGR
                                  12                 Plaintiffs,                            ORDER GRANTING IN PART PLAINTIFFS’
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 United States District Court




                                                                                            MOTION FOR CLASS CERTIFICATION;
                                  13           vs.                                          GRANTING IN PART DEFENDANTS’ MOTION
                                                                                            TO EXCLUDE CERTAIN OPINIONS BY DR.
                                  14    CVS HEALTH, ET AL.,                                 HAY; GRANTING DEFENDANTS’ MOTION
                                                                                            FOR SUMMARY JUDGMENT
                                  15                 Defendants.
                                                                                            Re: Dkt. Nos. 271, 274, 287
                                  16

                                  17          Plaintiffs bring this putative class action against defendants alleging that they knowingly
                                  18   overcharged millions of insured patients by submitting falsely inflated drug prices to pharmacy
                                  19   benefit managers (“PBMs”) and third-party payor insurance providers (“TPPs”), which resulted in
                                  20   higher copayment obligations for plaintiffs. Specifically, plaintiffs raise claims under the laws of
                                  21   eleven states: (i) each state’s statutory laws proscribing unfair and deceptive acts and practices
                                  22   (“UDAP”); and common law claims for (ii) fraud, (iii) negligent misrepresentation, and (iv) unjust
                                  23   enrichment.
                                  24          Now before the Court are the following motions: First, plaintiffs have filed a renewed
                                  25   motion for class certification, significantly narrowing the classes and issues which they seek to
                                  26   certify. Second, defendants move to exclude certain opinions from Dr. Hay, submitted in support
                                  27   of plaintiffs’ motion for class certification. And third, defendants’ move for summary judgment
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                                   1   on all claims in this action arguing that plaintiffs have failed to demonstrate either any

                                   2   misrepresentations or reliance, essential elements of their claims.1

                                   3            Having carefully reviewed the pleadings, the papers submitted on each motion, the parties

                                   4   oral arguments at the hearing held on July 18, 2017, and for the reasons set forth more fully below,

                                   5   the Court ORDERS as follows: The Court GRANTS IN PART plaintiffs’ motion for class

                                   6   certification, certifying a California, Florida, Illinois, and Massachusetts class, but limited only to

                                   7   the PBM that adjudicated each class representative’s claim. The Court DENIES the motion to

                                   8   certify a New York and Arizona class because the proposed class representatives fail to satisfy the

                                   9   typicality requirement of Rule 23(a). The Court GRANTS IN PART defendants’ motion to exclude

                                  10   certain opinions by Dr. Hay and STRIKES Dr. Hay’s opinion that CVS’s Health Savings Pass

                                  11   (“HSP”) prices are the “Usual and Customary” (“U&C”) prices as defined in CVS’s contracts.

                                  12   The Court GRANTS defendants’ motion for summary judgment finding no triable issue of fact
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                                  13   exists with regard to whether CVS misrepresented its U&C price to the PBMs.

                                  14   I.       BACKGROUND
                                  15            Plaintiffs seek to certify eleven state classes composed of individuals who “have filled

                                  16   prescriptions for generic drugs at CVS pharmacies using coverage provided by their [TPP] plans.”

                                  17   (Dkt. No. 101, Third Amended Complaint (“TAC”) ¶ 10.) The following facts and allegations

                                  18   relate to the instant motions:

                                  19            CVS is a national retail pharmacy chain with over seven thousand pharmacies operating

                                  20   under its trade name in the United States and Puerto Rico, managing more than one billion

                                  21   prescriptions annually. (Id. at ¶ 4.) In 2014, CVS’ retail pharmacy business generated more than

                                  22   $67 billion in revenues, 70% of which came from prescription drugs. Since 2008, CVS has

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                                                1
                                  24             The parties have also filed administrative motions to seal certain exhibits and portions
                                       thereof at Docket Numbers 272, 281, 286, 300, 302, and 314. The Court addresses each by
                                  25   separate order, under the appropriate “compelling reasons” standard. See Kamakana v. City and
                                       Cty. of Honolulu, 447 F.3d 1172, 1178–80 (9th Cir. 2006) (holding that the moving party must
                                  26   present “compelling reasons” to outweigh the public’s interest in disclosure with regard to
                                       dispositive motions such as summary judgment); see also Aldapa v. Fowler Packing Co., Inc., No.
                                  27   15-CV-420-DAD, 2017 WL 2546606, at *2 n.2 (E.D. Cal. June 13, 2017) (applying heightened
                                       “compelling reasons” standard to motions to seal connected with a motion for class certification
                                  28   where the certification issues are “clearly more than tangentially related to the merits of the case”
                                       and where denial of the same “would almost certainly be dispositive of th[e] case”).
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                                   1   captured more than one third of total prescription growth in the United States. (Id.)

                                   2   Approximately ninety percent of Americans—including plaintiffs— are enrolled in a private or

                                   3   public health care plan that shares prescription drug costs. (Id. at ¶ 8.) Generally, when plan

                                   4   participants fill a prescription under one of these TPP health care plans, the plan “pays a portion of

                                   5   the cost, and the plan participant pays the remaining portion of the cost directly to the pharmacy in

                                   6   the form of a copayment or copay.” (Id.) Many TPPs typically contract with a PBM to administer

                                   7   their prescription benefits with a pharmacy.

                                   8          When a plan participant fills a prescription at CVS, the pharmacist generates a claim by

                                   9   transmitting patient, prescription, and insurance information electronically to the customer’s

                                  10   insurer directly or the PBM. (Id. at ¶¶ 47–48.) The electronic CVS claims process utilizes

                                  11   standardized data fields developed by the National Council for Prescription Drug Programs

                                  12   (“NCPDP”), a standard-setting organization in the healthcare industry. (Id. at ¶¶ 50–51.) One
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                                  13   data field on NCPDP’s standard layout is Field No. 426-DQ, the U&C price. (Id. at ¶ 53.) The

                                  14   U&C price is “generally defined as the cash price to the general public, which is the amount

                                  15   charged [to] cash customers for the prescription, exclusive of sales tax or other amounts claimed.”

                                  16   (Id.) Under most of CVS’s contracts with TPPs and PBMs, the copayment must generally be the

                                  17   lower of the following: (a) the drug’s average wholesale price as set by the industry; (b) a

                                  18   maximum allowable cost determined by the pharmacy’s contract with the PBM or TPP; or (c) the

                                  19   U&C price.

                                  20          In 2008, CVS introduced its HSP program. (Id. at ¶ 60.) The HSP program provides

                                  21   discounted pricing on hundreds of generic prescription medications, including some of the most

                                  22   commonly prescribed drugs for cardiovascular, allergy, and diabetes conditions, among others.

                                  23   (Id. at ¶ 62.)2 Plaintiffs allege that the price charged by CVS under the HSP program for the HSP

                                  24   generics was the true U&C price for those drugs. (Id. at ¶ 70.) However, CVS continued to

                                  25   submit amounts higher than the HSP price for all HSP generics (rather than the HSP program

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                                  27              From November 9, 2008 through 2010, cash paying customers could join the HSP
                                       program for a $10 fee, and be entitled to $9.99 prices for a ninety-day supply of an HSP generic.
                                  28   (Id. at ¶ 62.) Beginning in 2011, CVS raised the HSP enrollment fee to $15 a year and the cost of
                                       a ninety-day supply of an HSP generic rose to $11.99. (Id.)
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                                   1   price) as the U&C price to TPPs and PBMs. (Id. at ¶ 71.) As a result, in some instances, plaintiffs

                                   2   allege they paid copayments that exceeded the HSP price or the “true U&C price.” (Id. at ¶¶ 76,

                                   3   80.) Defendants discontinued the HSP program on February 1, 2016.

                                   4   II.    LEGAL FRAMEWORK

                                   5          A.      Motion for Class Certification

                                   6          Under Federal Rule of Civil Procedure 23(a), the Court may certify a class only where “(1)

                                   7   the class is so numerous that joinder of all members is impracticable; (2) there are questions of law

                                   8   or fact common to the class; (3) the claims or defenses of the representative parties are typical of

                                   9   the claims or defenses of the class; and (4) the representative parties will fairly and adequately

                                  10   protect the interests of the class.” Fed. R. Civ. P. 23(a). Courts refer to these four requirements as

                                  11   “numerosity, commonality, typicality[,] and adequacy of representation.” Mazza v. Am. Honda

                                  12   Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).
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                                  13          Once plaintiffs establish that the threshold requirements of Rule 23(a) are met, plaintiffs

                                  14   must then show “through evidentiary proof” that a class is appropriate for certification under one

                                  15   of the provisions in Rule 23(b). Comcast Corp. v. Behrend, 569 U.S. 27, 133 S. Ct. 1426, 1432

                                  16   (2013). Here, plaintiffs seek certification under Rule 23(b)(3) only.

                                  17          Rule 23(b)(3) requires plaintiffs to establish “that the questions of law or fact common to

                                  18   class members predominate over any questions affecting only individual members, and that a class

                                  19   action is superior to other available methods for fairly and efficiently adjudicating the

                                  20   controversy.” Fed. R. Civ. P. 23(b)(3). The predominance inquiry focuses on “whether proposed

                                  21   classes are sufficiently cohesive to warrant adjudication by representation.” Hanlon v. Chrysler

                                  22   Corp., 150 F.3d 1011, 1022 (9th Cir. 1998) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.

                                  23   591, 623 (1997)).

                                  24          B.      Motion to Exclude Expert Opinion

                                  25          Rule 702 permits opinion testimony by an expert as long as the witness is qualified and

                                  26   their opinion is relevant and reliable. Fed. R. Evid. 702. An expert witness may be qualified by

                                  27   “knowledge, skill, experience, training, or education.” Id.

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                                   1          At the class certification stage, courts analyze challenges to expert testimony under the

                                   2   standards set forth in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). See

                                   3   Ellis, 657 F.3d at 982. “[A]t this early stage, robust gatekeeping of expert evidence is not

                                   4   required; rather, the court should ask only if expert evidence is useful in evaluating whether class

                                   5   certification requirements have been met.” Culley v. Lincare Inc., No. 15-CV-00081-MCE-CMK,

                                   6   2016 WL 4208567, at *1 (E.D. Cal. Aug. 10, 2016) (quoting Tait v. BSH Home Appliances Corp.,

                                   7   289 F.R.D. 466, 492–93 (C.D. Cal. 2012)).

                                   8          The trial judge has discretion to determine reasonable measures of reliability. Kumho Tire

                                   9   Co., Ltd. v. Carmichael, 526 U.S. 137, 153 (1999). The proponent of expert testimony has the

                                  10   burden of proving admissibility in accordance with Rule 702. Fed. R. Evid. 702, Advisory

                                  11   Committee Notes (2000 amendments). An expert should be permitted to testify if the proponent

                                  12   demonstrates that: (1) the expert is qualified; (2) the evidence is relevant to the suit; and (3) the
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                                  13   evidence is reliable. See Thompson v. Whirlpool Corp., No. 06-CV-1804-JCC, 2008 WL

                                  14   2063549, at *3 (W.D. Wash. May 13, 2008) (citing Daubert, 509 U.S. at 589–94).

                                  15          C.      Motion for Summary Judgment

                                  16          Summary judgment is appropriate when no genuine dispute as to any material fact exists

                                  17   and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A party

                                  18   seeking summary judgment bears the initial burden of informing the court of the basis for its

                                  19   motion, and of identifying those portions of the pleadings, depositions, discovery responses, and

                                  20   affidavits that demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

                                  21   Catrett, 477 U.S. 317, 323 (1986). Material facts are those that might affect the outcome of the

                                  22   case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The “mere existence of some

                                  23   alleged factual dispute between the parties will not defeat an otherwise properly supported motion

                                  24   for summary judgment; the requirement is that there be no genuine issue of material fact.” Id. at

                                  25   247–48 (dispute as to a material fact is “genuine” if sufficient evidence exists for a reasonable jury

                                  26   to return a verdict for the non-moving party) (emphases in original).

                                  27          Where the moving party will have the burden of proof at trial, it must affirmatively

                                  28   demonstrate that no reasonable trier of fact could find other than for the moving party. Soremekun
                                                                                          5
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                                   1   v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007). On an issue where the opposing party

                                   2   will bear the burden of proof at trial, the moving party can prevail merely by pointing out to the

                                   3   district court that the opposing party lacks evidence to support its case. Id. If the moving party

                                   4   meets its initial burden, the opposing party must then set out “specific facts” showing a genuine

                                   5   issue for trial in order to defeat the motion. Id. (quoting Anderson, 477 U.S. at 250). The

                                   6   opposing party’s evidence must be more than “merely colorable” and must be “significantly

                                   7   probative.” Anderson, 477 U.S. at 249–50. Further, that party may not rest upon mere allegations

                                   8   or denials of the adverse party’s evidence, but instead must produce admissible evidence that

                                   9   shows a genuine issue of material fact exists for trial. Nissan Fire & Marine Ins. Co., Ltd. v. Fritz

                                  10   Cos., Inc., 210 F.3d 1099, 1102–03 (9th Cir. 2000); Nelson v. Pima Cmty. College, 83 F.3d 1075,

                                  11   1081–82 (9th Cir. 1996) (“mere allegation and speculation do not create a factual dispute”); Arpin

                                  12   v. Santa Clara Valley Transp. Agency, 261 F.3d 912, 922 (9th Cir. 2001) (“conclusory allegations
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                                  13   unsupported by factual data are insufficient to defeat [defendants’] summary judgment motion”).

                                  14          When deciding a summary judgment motion, a court must view the evidence in the light

                                  15   most favorable to the non-moving party and draw all justifiable inferences in its favor. Anderson,

                                  16   477 U.S. at 255; Hunt v. City of Los Angeles, 638 F.3d 703, 709 (9th Cir. 2011). However, in

                                  17   determining whether to grant or deny summary judgment, a court need not “scour the record in

                                  18   search of a genuine issue of triable fact.” Keenan v. Allan, 91 F.3d 1275, 1279 (9th Cir. 1996)

                                  19   (internal quotations and citation omitted). Rather, a court is entitled to “rely on the nonmoving

                                  20   party to identify with reasonable particularity the evidence that precludes summary judgment.”

                                  21   See id. (internal quotations and citation omitted); Carmen v. San Francisco Unified Sch. Dist., 237

                                  22   F.3d 1026, 1031 (9th Cir. 2001) (“The district court need not examine the entire file for evidence

                                  23   establishing a genuine issue of fact, where the evidence is not set forth in the opposing papers with

                                  24   adequate references so that it could conveniently be found.”). Ultimately, “[w]here the record

                                  25   taken as a whole could not lead a rational trier of fact to find for the non-moving party, there is no

                                  26   ‘genuine issue for trial.’” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,

                                  27   587 (1986) (citation omitted).

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                                   1   III.   MOTION FOR CLASS CERTIFICATION

                                   2          Plaintiffs now seek to certify six state classes under Federal Rule of Civil Procedure

                                   3   23(b)(3) defined as follows:

                                   4          All CVS customers in [California,] [Arizona,] [Florida,] [Illinois,]
                                              [Massachusetts,] [and New York] who, between November 2008 and July 31,
                                   5          2015 (the “Class Period”), (1) purchased one or more generic prescription drugs
                                              that were offered through CVS’s Health Savings Pass (“HSP”) program at the
                                   6          time of the purchase; (2) were insured for the purchase(s) through a third-party
                                   7          payor plan administered by one of the following pharmacy benefit managers:
                                              Caremark/PCS, Express Scripts, Medco, MedImpact, or Optum/Prescription
                                   8          Solutions (prior to January 29, 2015); and (3) paid CVS an out-of-pocket payment
                                              for the purchase greater than the HSP price for the prescription.
                                   9
                                       Plaintiffs proffer the following representatives for each state class: California (Tyler
                                  10
                                       Clark); Arizona (Zulema Avis); Florida (Debbie Barrett and Robert Jenks); Illinois
                                  11
                                       (Robert Jenks and Carl Washington); Massachusetts (Robert Garber); and New York
                                  12
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                                       (Onnolee Samuelson).
 United States District Court




                                  13
                                              Defendants contend that certification of these classes is inappropriate because the classes
                                  14
                                       and class representatives fail to satisfy the requirements for a Rule 23(b)(3) class, namely: (i)
                                  15
                                       typicality; (ii) predominance and commonality;3 and (iii) superiority.4 The Court addresses each.
                                  16
                                              A.      Typicality
                                  17
                                              Defendants raise three arguments with respect to typicality: first, each state representative
                                  18
                                       is not typical of other class members in their state whose claims were adjudicated by a different
                                  19
                                       PBM; second, given the limited time period, plaintiffs Avis (Arizona) and Samuelson (New York)
                                  20

                                  21
                                              3
                                  22             For efficiency, the Court addresses commonality under Rule 23(a) together with
                                       predominance under Rule 23(b)(3). See, e.g., Collins v. ITT Educ. Servs., Inc., No. 12-CV-1395,
                                  23   2013 WL 6925827, at *3 (S.D. Cal. July 30, 2013) (addressing commonality and predominance
                                       together) (citing Amchem Prods., 521 U.S. at 609 (“Rule 23(a)(2)’s ‘commonality’ requirement is
                                  24   subsumed under, or superseded by, the more stringent Rule 23(b)(3) requirement that questions
                                       common to the class ‘predominate over’ other questions.”)); Steven Ades & Hart Woolery v. Omni
                                  25   Hotels Mgmt. Corp., No. 13-CV-2468, 2014 WL 4627271, at *8 (C.D. Cal. Sept. 8, 2014).
                                              4
                                  26              Defendants also raise adequacy issues to preserve the same for purposes of appeal, but
                                       concede that the Court has previously rejected the very same argument in its prior order denying
                                  27   plaintiffs’ first motion for class certification. (Dkt. No. 301 at 30.) For the same reasons the
                                       Court previously rejected defendants’ arguments in this regard, they are rejected here.
                                  28   Accordingly, the Court finds that plaintiffs have satisfied the adequacy requirement for class
                                       certification.
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                                   1   have no qualifying transactions; and third, all plaintiffs except for Samuelson continued shopping

                                   2   at CVS after learning of the alleged deception. The Court previously rejected defendants’ third

                                   3   argument, and, for the same reasons, does so again here. (Dkt. No. 249 at 14.) Thus, the Court

                                   4   addresses only defendants’ first and second arguments.

                                   5                  1.      Different PBM Adjudicators

                                   6          Defendants argue that each class representative is atypical with respect to other potential

                                   7   class members whose claims were adjudicated by a different PBM. For instance, Clark is the sole

                                   8   representative of the California class, and he claims that he was overcharged on purchases

                                   9   adjudicated by Caremark. Defendants explain that Clark would be atypical of other California

                                  10   class members whose claims were adjudicated by ExpressScripts, Medco, MedImpact, or Optum.

                                  11          The Court agrees. “The test of typicality ‘is whether other members have the same or

                                  12   similar injury, whether the action is based on conduct which is not unique to the named plaintiffs,
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                                  13   and whether other class members have been injured by the same course of conduct.’” Hanon v.

                                  14   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quoting Schwartz v. Harp, 108 F.R.D.

                                  15   279, 282 (C.D. Cal. 1985)). Plaintiffs here are seeking to certify six different state classes to

                                  16   demonstrate that defendants submitted incorrect or false U&C prices to five different PBMs within

                                  17   each state. To illustrate, for instance, the Illinois class would seek to demonstrate that under

                                  18   Illinois’ UDAP law, defendants breached their contracts to Caremark, Express Scripts, Medco,

                                  19   MedImpact, and Optum by failing to submit accurate U&C prices to each. However, plaintiffs put

                                  20   forward only two class representatives for Illinois—Washington and Jenks—and both of their

                                  21   claims were adjudicated by only one PBM, Caremark. The evidence with respect to Caremark—

                                  22   discussed in greater depth herein in the context of defendants’ summary judgment motion—does

                                  23   not necessarily apply to the other PBMs. Whether defendants failed to honor their agreement with

                                  24   Caremark is not necessarily dispositive of whether they breached their agreement to other PBMs.

                                  25   Each of these agreements was carefully negotiated between highly sophisticated parties, and the

                                  26   nuances among them could induce varying results.

                                  27          Thus, the classes here must necessarily be limited in scope to the PBMs, which adjudicated

                                  28   the class representative’s claims. See O’Connor v. Boeing N. Am., Inc., 197 F.R.D. 404, 412 (C.D.
                                                                                          8
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                                   1   Cal. 2000) (“The premise of the typicality requirement is simply stated: as goes the claim of the

                                   2   named plaintiff, so go the claims of the class. Where the premise does not hold true, class

                                   3   treatment is inappropriate.” (citations omitted)); see also In re WellPoint, Inc. Out-of-Network

                                   4   “UCR” Rates Litig., No. 09-MDL-2074-PSG, 2014 WL 6888549, at *4 (C.D. Cal. Sept. 3, 2014)

                                   5   (finding certification not appropriate because “[usual, customary, and reasonable] obligations are

                                   6   governed by its contracts, and the relevant terms of those contracts vary across the proposed

                                   7   classes” even where a standard, industry definition existed); Westways World Travel, Inc. v. AMR

                                   8   Corp., No. 99-CV-386, 2005 WL 6523266, at *9 (C.D. Cal. Feb. 24, 2005) (denying certification

                                   9   where the “sheer number of additional agreements, even though many are form contracts, suggests

                                  10   that individualized issues would predominate”). However, that these limits are necessary does not

                                  11   require denial of plaintiffs’ motion for class certification. Rather, to the extent that the proposed

                                  12   classes satisfy the remaining requirements for class certification, the Court narrows each class to
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                                  13   the specific PBMs, which adjudicated the claims of the class representatives.

                                  14          Thus, the proposed classes are so narrowed and limited to the following: (i) California

                                  15   limited only to Caremark; (ii) Arizona to Caremark; (iii) Florida to Optum and Caremark; (iv)

                                  16   Illinois to Caremark; (v) Massachusetts to Express Scripts and MedImpact;5 and (vi) New York to

                                  17   MedImpact.

                                  18                  2.      Lack of Qualifying Transactions

                                  19          Defendants have proffered evidence demonstrating that plaintiffs Avis and Samuelson—

                                  20   the named representatives for the Arizona and New York classes, respectively—have no

                                  21   transactions adjudicated by any of the five PBMs at issue for purposes of class certification during

                                  22   the Class Period. Plaintiffs’ expert Dr. Hay disclosed the following regarding what plaintiffs

                                  23   considered the relevant purchases for Samuelson and Avis during the Class Period: first, twenty-

                                  24   five purchases by Samuelson from January 19, 2010 to November 14, 2011, bearing Condor Code

                                  25   7434; second, four purchases by Avis from May 25, 2009 to June 18, 2010, bearing Condor Code

                                  26

                                  27          5
                                                Plaintiffs listed Robert Garber as having purchases associated with Medco in their
                                  28   motion for class certification. However, defendants indicate that plaintiffs’ expert did not identify
                                       any Medco-related purchases with respect to Garber during the Class Period.
                                                                                        9
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                                   1   15800. (Dkt. No. 272-6 at 105–108.) With regard to Samuelson, claims bearing Condor Code

                                   2   7434 pertained to Excellus as the relevant PBM. (Dkt. No. 277-8 at 6.)6 With regard to Avis,

                                   3   claims bearing the Condor Code 15800 pertained to transactions between CVS and Aetna until

                                   4   January 1, 2011. (Dkt. No. 283-18 at 5–6; see also Dkt. No. 277-8 at 6.)

                                   5          Plaintiffs’ only rebuttal is that defendants’ current assertion is inconsistent with their prior

                                   6   discovery responses identifying Caremark and MedImpact contracts as applicable to Avis and

                                   7   Samuelson. However, those discovery responses were issued prior to this Court’s first order

                                   8   denying class certification and plaintiffs’ renewed motion narrowing the class definition. In this

                                   9   context, plaintiffs’ own expert identified the relevant transactions. Defendants’ evidence, the

                                  10   accuracy and reliability of which plaintiffs do not dispute, demonstrates that Avis and Samuelson

                                  11   do not have any qualifying transactions under the new class definition. Thus, the Court finds that

                                  12   neither is typical of the classes, which they seek to represent. See McKinnon v. Dollar Thrifty
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                                  13   Automotive Grp., Inc., No. 12-CV-4457-YGR, 2016 WL 879784, at *9 (N.D. Cal. Mar. 8, 2016)

                                  14   (finding proposed representative atypical because he lacked a qualifying purchase).

                                  15          Accordingly, the Court DENIES WITHOUT PREJUDICE plaintiffs’ motion to certify a New

                                  16   York and Arizona class because they lack proper class representatives.

                                  17          B.      Predominance and Commonality

                                  18          Defendants raise four categories of arguments explaining why individual issues

                                  19   predominate rendering class certification untenable. First, the evidence as to whether a

                                  20   misrepresentation was made to a PBM is not common because five different PBMs administered

                                  21   each class member’s prescriptions under plaintiffs’ proposed class definition. Second, whether

                                  22   plaintiffs are third-party beneficiaries of the defendants’ contracts with the PBMs varies depending

                                  23   on the state and the contract at issue. Third, evidence of reliance as to each class member must be

                                  24   considered. And finally, fourth, evidence of damages differs among each class member.

                                  25
                                              6
                                  26            Plaintiffs cite an article dated September 28, 2010 wherein MedImpact announced that it
                                       would be partnering with Excellus to “provide select pharmacy benefit services for Medicare Part
                                  27   D and Part B beginning January 1, 2011,” arguing that the article demonstrates that Samuelson
                                       made qualifying purchases adjudicated by MedImpact after January 1, 2011. No evidence
                                  28   demonstrates, however, that Samuelson’s claims fell into Excellus’ Medicare Part D and Part B
                                       pharmacy benefit services.
                                                                                        10
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                                   1          As an initial matter, the Court finds that defendants’ first two arguments are mooted by the

                                   2   Court’s decisions herein. With regard to their first argument, the Court has already narrowed the

                                   3   class definition such that each class relates only to the PBMs that adjudicated a named

                                   4   representative’s prescriptions. (See supra.) With regard to their second argument regarding third-

                                   5   party beneficiary provisions, as discussed below, the Court finds that those concerns are

                                   6   immaterial to plaintiffs’ claims. The Court next turns to defendants’ remaining arguments.

                                   7                  1.       Reliance

                                   8          Defendants contend that reliance and materiality cannot be presumed in this action

                                   9   because, as the transaction data demonstrates, many potential class members knew about HSP

                                  10   pricing as some of them were HSP members. Specifically, the data reflects that 96,800 members

                                  11   of the putative class were enrolled in HSP at some time, of which 69,786 were either enrolled in

                                  12   HSP at the same time that they carried insurance or purchased insurance after having been an HSP
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                                  13   member. Thus, defendants contend, the issue of reliance must be determined on a case-by-case

                                  14   basis. See In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 982 (C.D. Cal. 2015) (“[T]he Ninth

                                  15   Circuit has held that if a misrepresentation is not material to all class members, the issue of

                                  16   reliance varies from consumer to consumer, and no classwide inference arises.” (internal

                                  17   quotations omitted)).

                                  18          Defendants do not persuade. Putting aside the fact that not all of the statutes at issue here

                                  19   require a showing of reliance,7 the evidence proffered by defendants does not sufficiently

                                  20

                                  21          7
                                                  Arizona’s and California’s UDAP statutes require a showing of reliance. See Kuehn v.
                                  22   Stanley, 91 P.3d 346, 351 (Ariz. Ct. App. 2004) (“An injury occurs when a consumer relies, even
                                       unreasonably, on false or misrepresented information.”); Cohen v. DIRECTV, Inc., 101 Cal. App.
                                  23   4th 966, 980 (2009) (“[A]ctual reliance must be established for an award of damages under the
                                       CLRA.”); I.B. ex rel. Fife v. Facebook, Inc., 905 F. Supp. 2d 989, 1012 (N.D. Cal. 2012)
                                  24   (“California law . . . require[s] a UCL claim to allege actual reliance.”). The UDAP statutes in
                                       Florida, Illinois, Massachusetts, and New York require a showing of “causation,” which, in some
                                  25   cases, is similar to a reliance requirement. See Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla.
                                       Dist. Ct. App. 2006) (“causation” as a listed element); Clark v. Experian Info. Sols., Inc., 256 F.
                                  26   App’x 818, 821 (7th Cir. 2007) (proximate causation required in Illinois); Small v. Lorillard
                                       Tobacco Co., 252 A.D.2d 1, 7 (N.Y. App. Div. 1998) (“[A] plaintiff seeking compensatory
                                  27   damages [under New York’s consumer protection statute] must show that the defendant engaged
                                       in a material deceptive act or practice that caused actual . . . harm.” (internal quotation and
                                  28   citations omitted)); Kinoo, Inc. v. Bechtel/Parsons Brinckerhoff, No. 05-CV-0953-BLS, 2009 WL
                                       2449879, at *6 (Mass. Super. Ct. 2009) (“[P]laintiff must prove a causal connection between the
                                                                                         11
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                                   1   demonstrate that potential class members, even those who were members of HSP, knew of the

                                   2   allegedly deceptive practices. The copayment adjudication process from the perspective of the

                                   3   consumer is opaque, as one of defendants’ experts concedes: “A pharmacy customer has limited

                                   4   insight into the processes that occur ‘behind the scenes’ when they have a prescription filled at

                                   5   their local retail pharmacy.” (Dkt. No. 313-2 at 4.) Putative class members likely did not

                                   6   understand the relationship between the pharmacy’s U&C and what the pharmacy charges them,

                                   7   which may be at times less than or more than the HSP program prices. Thus, that a small

                                   8   percentage of putative class members were also HSP members does not necessarily demonstrate

                                   9   that putative class members were aware of the fraudulent acts alleged here.

                                  10                  2.      Damages
                                  11          In this regard, defendants argue that there is no common evidence establishing a class

                                  12   member’s damages because Dr. Hay’s calculation is dependent on their individual insurance plans.
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                                  13   Specifically, defendants proffer evidence demonstrating that several named plaintiffs had

                                  14   insurance coverage that provided for caps on individual members’ out-of-pocket expenditures, and

                                  15   the transaction data suggests that many other potential class members also had out-of-pocket caps

                                  16   as part of their insurance coverage.

                                  17          Defendants present a hypothetical situation wherein a patient’s out-of-pocket expenses are

                                  18   capped at $100 per annum. If, for instance, the proper U&C for that patient’s medication was set

                                  19   at $10, in years when that patient filled that prescription ten or more times, that patient would have

                                  20   suffered no injury even if defendants had charged them more than $10 because the cap would have

                                  21   been reached. Defendants’ expert Dr. Barlag observed that 7.7% of the putative class members

                                  22   made at least one purchase where the patient’s copayment was $0.00, suggesting that those

                                  23   patients had, and reached, an out-of-pocket cap during the Class Period.

                                  24          The Court disagrees. The Ninth Circuit has held that “differences in damage calculations”

                                  25   among class members does “not defeat class certification.” Pulaski & Middleman, LLC v. Google,

                                  26   Inc., 802 F.3d 979, 987 (9th Cir. 2015). Rather, plaintiffs need only demonstrate that their

                                  27
                                  28   deception and the loss and that the loss was foreseeable as a result of the deception.” (internal
                                       quotations omitted)).
                                                                                        12
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                                   1   damages stemmed from the defendants’ actions that created the legal liability. Id. (citations

                                   2   omitted). Here, assuming that defendants are liable, plaintiffs’ damages calculations are tied to the

                                   3   delta between what plaintiffs were charged by defendants and defendants’ true U&C price, which

                                   4   plaintiffs allege is the HSP program price for each drug. For the percentage of putative class

                                   5   members whose insurance provided them with out-of-pocket caps, damages can be determined by

                                   6   calculating the difference between those caps and what they would have paid had defendants

                                   7   submitted the correct U&C price. That some of these calculations will involve individualized and

                                   8   fact-specific determinations is insufficient to defeat class certification. Id.8

                                   9          C.      Superiority

                                  10          To make this determination, the Court considers the following four non-exhaustive factors:

                                  11   (1) the interests of members of the class in individually controlling the prosecution or defense of

                                  12   separate actions; (2) the extent and nature of any litigation concerning the controversy already
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                                  13   commenced by or against the members of the class; (3) the desirability of concentrating the

                                  14   litigation of the claims in the particular forum; and (4) the difficulties likely to be encountered in

                                  15   the management of a class action. Fed. R. Civ. P. 23(b)(3)(A)–(D). “Where classwide litigation

                                  16   of common issues will reduce litigation costs and promote greater efficiency, a class action may be

                                  17   superior to other methods of litigation.” Valentino v. Carter-Wallace, Inc., 97 F.3d. 1227, 1235

                                  18   (9th Cir. 1996).

                                  19          Defendants’ arguments focus on the fourth factor outlined above, namely the difficulties

                                  20   likely to be encountered in the management of the class action. Specifically, defendants argue that

                                  21   plaintiffs have failed to demonstrate how a trial could proceed with six classes under seven

                                  22   relevant statutes, on top of each states’ jurisprudence on contract interpretation applied to five

                                  23   different PBM-CVS contracts. Moreover, defendants complain that the trial plan reveals

                                  24   inadequate planning and lack of thoughtfulness as to how the case could actually be tried to a jury.

                                  25   For instance, defendants argue, plaintiffs represented that they only intend to offer two to three

                                  26

                                  27          8
                                                 Plaintiffs also put forth evidence suggesting that prior to 2014, “copays at the doctor or
                                  28   pharmacist did not count toward [patients’] deductible or out-of-pocket maximum.” (Dkt. No.
                                       313-4 at 3.) If so, the individualized inquiry would be further minimized.
                                                                                         13
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                                   1   class representatives as witnesses, yet do not explain how they intend to prove their case as to all

                                   2   claims without presenting more.

                                   3          The Court finds that plaintiffs have sufficiently demonstrated how jury instructions and a

                                   4   verdict form may be structured to account for statewide classes in light of the fact that many of the

                                   5   state-law claims raise common issues. While further modifications may be necessary, the showing

                                   6   suffices. Moreover, the Court’s limitation of each state class only to the PBMs that adjudicated

                                   7   the named representative’s claims and finding that the Arizona and New York classes lack a

                                   8   typical representative further reduces the complexity of any potential trial.

                                   9          While, defendants do not address the other factors courts must consider in evaluating the

                                  10   superiority of a class action, the Court does so here. Briefly:

                                  11          The first factor—the interest of each member in “individually controlling the prosecution

                                  12   or defense of separate actions”—here weighs in favor of class certification, given that the potential
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                                  13   damages suffered by each putative class member are not large. See Zinser v. Accufix Research

                                  14   Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001). The second factor—the extent and nature of any

                                  15   litigation concerning the controversy already commenced by or against members of the class—

                                  16   also weighs in favor here, given that neither party has indicated that any related actions exist with

                                  17   respect to the putative class members. And, finally, the third factor—the desirability of

                                  18   concentrating the litigation in this forum—weighs slightly against class certification. No adequate

                                  19   justification exists for concentrating the litigation in this particular forum given that the potential

                                  20   plaintiffs, witnesses, and evidence are located across the country. See Zinser, 253 F.3d at 1191–92

                                  21   (citing Haley v. Medtronic, Inc., 169 F.R.D. 643, 653 (N.D. Cal. 1996)).

                                  22          The Court finds, based on its analysis of the Rule 23(b)(3) factors, that plaintiffs have

                                  23   satisfied the superiority requirement for class certification of the remaining four proposed state

                                  24   classes, as amended herein.

                                  25          D.      Summary

                                  26          For the foregoing reasons, the Court GRANTS IN PART plaintiffs’ motion for class

                                  27   certification, and CERTIFIES the following state classes:

                                  28
                                                                                          14
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                                              1) California Class: All CVS customers in California who, between November
                                   1          2008 and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                   2          prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                              program at the time of the purchase; (2) were insured for the purchase(s) through
                                   3          a third-party payor plan administered by Caremark/PCS; and (3) paid CVS an out-
                                              of-pocket payment for the purchase greater than the HSP price for the
                                   4          prescription.
                                   5          2) Florida Class: All CVS customers in Florida who, between November 2008
                                              and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                   6          prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                              program at the time of the purchase; (2) were insured for the purchase(s) through
                                   7          a third-party payor plan administered by Caremark/PCS or Optum; and (3) paid
                                   8          CVS an out-of-pocket payment for the purchase greater than the HSP price for the
                                              prescription.
                                   9          3) Illinois Class: All CVS customers in Illinois who, between November 2008
                                  10          and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                              prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                  11          program at the time of the purchase; (2) were insured for the purchase(s) through
                                              a third-party payor plan administered by Caremark/PCS; and (3) paid CVS an out-
                                  12          of-pocket payment for the purchase greater than the HSP price for the
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                                              prescription.
                                  13
                                              4) Massachusetts Class: All CVS customers in Massachusetts who, between
                                  14          November 2008 and July 31, 2015 (the “Class Period”), (1) purchased one or
                                              more generic prescription drugs that were offered through CVS’s Health Savings
                                  15          Pass (“HSP”) program at the time of the purchase; (2) were insured for the
                                  16          purchase(s) through a third-party payor plan administered either by Express
                                              Scripts or MedImpact; and (3) paid CVS an out-of-pocket payment for the
                                  17          purchase greater than the HSP price for the prescription.

                                  18   The Court DENIES plaintiffs’ motion to certify a New York and Arizona class because the

                                  19   proposed class representatives fail to satisfy the typicality requirement of Rule 23(a).

                                  20   IV.    MOTION TO EXCLUDE CERTAIN OPINIONS FROM DR. HAY

                                  21          Plaintiffs offer Dr. Hay to present the following opinions: first, CVS customers and

                                  22   transactions associated with the PBMs that adjudicated the named plaintiffs’ claims can be

                                  23   identified in CVS’s transaction data; second, the transaction data for the named plaintiffs’ relevant

                                  24   purchases indicate that plaintiffs meet the class definition; third, CVS charged 6.6 million class

                                  25   members copayments that exceeded CVS’s true U&C price; and fourth, the damages for the class

                                  26   are common and uniform, and totals $123,702,100.96 across the classes. Defendants do not

                                  27   contend that Dr. Hay is unqualified to offer opinions relating to damages. However, they argue

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                                                                                        15
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                                   1   that two opinions are unreliable, namely his contention that defendant’s true U&C price is the

                                   2   HSP program price and Dr. Hay’s damages calculation.9

                                   3          A.      Opinion 1: HSP Prices Are U&C

                                   4          Dr. Hay opines that the plaintiffs in the class have all suffered the same harm, namely that

                                   5   defendants charged copayments higher than their true U&C prices, which “should have been based

                                   6   on CVS’s HSP prices.” (Dkt. No. 272-6 at ¶ 23.) Defendants challenge this opinion because Dr.

                                   7   Hay’s analysis is premised merely on his conclusion that the HSP price is the most common price

                                   8   observed in defendants’ transaction data, despite the lack of any contract, statute, or other relevant

                                   9   publication defining the U&C price as the “most common price.”

                                  10          Plaintiffs disagree and counter that Dr. Hay defines U&C as the “cash price for which a

                                  11   drug is sold,” and concludes on that basis that the HSP price is the U&C price. Plaintiffs contend

                                  12   that Dr. Hay does not, in fact, opine that U&C is defined as the “most common price” charged.
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                                  13          The Court disagrees. According to Dr. Hay himself, he analyzed “whether and to what

                                  14   extent CVS transacted at the HSP price” and then concluded that CVS “frequently transact[ed] at

                                  15   the HSP prices.” (Dkt. No. 302-8 at 6.) This is simply another way of stating that the HSP price

                                  16   should be considered the U&C price because it was frequently charged, or, the most common

                                  17   price. As this Court previously held with respect to striking Dr. Navarro’s opinion that the HSP

                                  18   price was the U&C price, where the expert conducted no specific investigation to determine what

                                  19   the PBMs meant relative to the contract provisions, the opinion cannot stand. (See Dkt. No. 316-4

                                  20   (Hay Dep.) 74:3–76:11.)

                                  21          Next, plaintiffs attempt to salvage the opinion by arguing that Dr. Hay’s analysis

                                  22   demonstrates that the HSP program was not a true membership program:

                                  23          First, Dr. Hay opines that HSP prices were sometimes charged to non-HSP members, and

                                  24   thus, HSP was not a true membership program. However, there is no indication that in situations

                                  25   where the HSP-price was charged to a non-HSP member, that price was not submitted to the PBM

                                  26

                                  27          9
                                                  Defendants also challenge Dr. Hay’s opinions regarding the “1st Percentile
                                  28   methodology.” Plaintiffs represent that Dr. Hay is no longer putting forward those opinions in
                                       light of this Court’s prior order denying class certification. (Dkt. No. 302-8 at 7.)
                                                                                         16
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                                   1   or TPP as the U&C price. To the contrary, the data suggesting that HSP prices were charged to

                                   2   non-HSP cash members is consistent with defendants’ established Minimum Retail Price

                                   3   according to CVS internal policies.10 The Minimum Retail Price was $10.99 through July 31,

                                   4   2010 and $11.99 thereafter. (Dkt. No. 283-16 at 13.) Dr. Barlag explains that whenever

                                   5   defendants charged a non-HSP cash customer $9.99 or $11.99, the data demonstrates that

                                   6   defendants “submitted a U&C price equal to, if not lower than, $9.99 or 11.99 for 99.8% of the

                                   7   comparable Third Party prescription purchases.” (Id. at 22.) Neither plaintiffs nor their experts

                                   8   dispute that analysis.

                                   9          Second, Dr. Hay opines that the transaction data reveals that 31.68% of HSP members did

                                  10   not pay the membership fee at least once every 365 days, and 8.53% did not ever pay fees, giving

                                  11   further credence to plaintiffs’ theory that the HSP program was not a bona fide membership

                                  12   program. However, these figures are misleading. Plaintiffs do not dispute that membership fee
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                                  13   payments paid prior to September 29, 2009 are not contained in the prescription purchase data.

                                  14   (See Dkt. No. 283-16 at 6; Dkt. No. 303-7 at 11–12.) Based on Dr. Hay’s chart in his rebuttal

                                  15   report filed on January 9, 2017, beginning in 2010, the data demonstrates that the vast majority of

                                  16   HSP members paid their membership fees. (Dkt. No. 214-25 at 12 (indicating that no payment

                                  17   data exists for 20.01% of HSP members in 2010, 7.21% in 2011, 6.24% in 2012, 6.23% in 2013,

                                  18   5.66% in 2014, and 4.78% in 2015).) Dr. Barlag also reported that HSP members sometimes paid

                                  19   their membership fees over the phone or online and such payments were not reflected in the

                                  20   prescription purchase data. (Dkt. No. 283-16 at 8.) Neither Dr. Hay nor plaintiffs address the

                                  21   impact of this fact on their conclusions regarding payment of HSP membership fees. In any event,

                                  22   plaintiffs have not demonstrated at what point failure to collect membership fees renders the

                                  23   program illegitimate for purposes of U&C. For instance, at least one PBM testified that it was the

                                  24

                                  25          10
                                                  Dr. Barlag describes CVS’s Minimum Retail Price as follows: CVS calculates an
                                  26   adjusted working price based, primarily, on the unit cost multiplied by the quantity dispensed.
                                       (Dkt. No. 283-16 at 16.) Dr. Barlag then explains that in situations where the adjusted working
                                  27   price for a given dispensed quantity is less than the Minimum Retail Price, the cash customer is
                                       charged the Minimum Retail Price as the final retail price. (Id.) For instance, if the Minimum
                                  28   Retail Price were $10.00 and the per-unit price of a certain drug were $0.50 cents, a cash customer
                                       purchasing less than twenty tablets of that drug would still routinely pay $10.00. (Id.)
                                                                                         17
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                                   1   act of enrolling in a membership program, not paying a fee, that was the relevant action. (Dkt. No.

                                   2   316-7 (Express Scripts) at 58:4–14.)

                                   3          Dr. Hay’s opinion that the HSP price should have been reported as the U&C price lacks

                                   4   sufficient foundation to satisfy Federal Rule of Evidence 702. Accordingly, the Court GRANTS

                                   5   defendants’ motion to exclude the same.

                                   6          B.      Opinion 2: Damages

                                   7          Defendants’ central concern with Dr. Hay’s damages calculation is that it is based on his

                                   8   conclusion that the HSP prices were defendants’ true U&C.11 Thus, defendants argue, as that

                                   9   conclusion goes, so too does Dr. Hay’s damages calculation. Plaintiffs, on the other hand, counter

                                  10   that attacking the factual bases and inputs into the damages calculation is inappropriate for a

                                  11   Daubert motion. See Bergen v. F/V St. Patrick, 816 F.2d 1345, 1352 n.5 (9th Cir. 1987) (“The

                                  12   relative weakness or strength of the factual underpinning of the expert’s opinion goes to weight
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                                  13   and credibility, rather than admissibility.”); see also Internmatch, Inc. v. Nxtbigthing, LLC, No.

                                  14   14-CV-5483-JST, 2016 WL 1212626, at *4–5 (N.D. Cal. Mar. 28, 2016).

                                  15          The Court need not resolve this question at this stage. Absent a U&C figure to enter into

                                  16   his analysis, Dr. Hay does not, in fact, have a damages figure to present to the Court. Thus, his

                                  17   opinion on damages is effectively moot. Defendants do not otherwise challenge Dr. Hay’s

                                  18   methodology in this regard, nor do they challenge his qualifications to perform the calculations.

                                  19          Accordingly, the Court DENIES defendants’ motion to strike Dr. Hay’s damage

                                  20   calculations as moot.

                                  21   V.     MOTION FOR SUMMARY JUDGMENT
                                  22          Defendants move for summary judgment on all claims arguing that no evidence exists to

                                  23   satisfy the elements of plaintiffs’ claims, namely (i) a misrepresentation of a material fact and (ii)

                                  24

                                  25          11
                                                   Defendants also briefly argue that Dr. Hay’s damages calculation is unreliable for the
                                  26   additional reason that he used the purchase price for 90-day quantities of drugs to analyze prices
                                       for 10- and 30-day prescriptions, without sufficient support in the record for doing so. Plaintiffs
                                  27   respond that for the purposes of their amended motion for class certification, Dr. Hay did not
                                       extrapolate prices for 10- and 30-day prescriptions from the 90-day price, but rather only
                                  28   calculated damages on copayments based on the 90-day HSP price. In light of plaintiffs’
                                       clarification, the Court finds that defendants’ argument in this regard is moot.
                                                                                          18
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                                   1   reliance or causation. Rather, defendants argue, the evidence produced demonstrates the contrary.

                                   2   The parties have raised certain preliminary matters in arguing the merits of defendants’ motion.

                                   3   Specifically: first, whether the parol evidence rule (“PER”) applies to bar evidence regarding the

                                   4   meaning of the contracts at issue; and second, whether, in any event, evidence submitted by

                                   5   defendants regarding the meaning of the contracts is competent and admissible. The Court

                                   6   addresses the preliminary matters first, and then proceeds to discuss the merits of defendants’

                                   7   motion for summary judgment.

                                   8          A.      Preliminary Matters

                                   9                  1.      Parol Evidence Rule

                                  10          Whether the PER bars defendants’ evidence regarding the meaning of the contracts

                                  11   depends on state law. While the application of PER varies among the states, the essence of the

                                  12   rule is the same: “The parol evidence rule is a substantive rule of law that prohibits the admission
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                                  13   of evidence of prior or contemporaneous oral agreements, or prior written agreements, whose

                                  14   effect is to add to, vary, modify, or contradict the terms of a writing which the parties intend to be

                                  15   a final, complete, and exclusive statement of their agreement.” 11 Williston on Contracts § 33:1

                                  16   (4th ed. 2017).12 On that basis, plaintiffs contend that evidence demonstrating the PBMs’

                                  17   understanding of certain terms in the agreements is inadmissible because each of the contracts are

                                  18
                                              12
                                  19               Federal courts deciding state-law causes of action apply the state’s parol evidence rule.
                                       See Jinro Am. Inc. v. Secure Investments, Inc., 266 F.3d 993, 998–99 (9th Cir. 2001) (stating that
                                  20   the district court’s application of the parol evidence rule is an “issue of state law”). Despite some
                                       differences within each state as to the application of the PER, the Court is aware of no meaningful
                                  21   differences regarding the basic elements of the PER as set forth herein. See, e.g., In re Marriage
                                       of Shaban, 88 Cal. App. 4th 398, 404 (2001) (“Parol evidence, of course, may be received to
                                  22   interpret a term of art used within a contract.”); Winston v. Mezzanine Investments, L.P., 170
                                       Misc.2d 241, 249 (N.Y. Sup. Ct. 1996) (“Turning to the criteria for contract interpretation, if a
                                  23   contract provision is reasonably susceptible of more than one interpretation, facts and
                                       circumstances extrinsic to the agreement can be considered to determine the intention of the
                                  24   parties.”); Eagle Indus., Inc. v. DeVilbiss Health Care, Inc., 702 A.2d 1228, 1232 (Del. 1997)
                                       (“But when there is uncertainty in the meaning and application of contract language, the reviewing
                                  25   court must consider the evidence offered in order to arrive at a proper interpretation of contractual
                                       terms.”); Perlman v. First Nat. Bank of Chicago, 305 N.E.2d 236, 244 (Ill. App. Ct. Nov. 5, 1973)
                                  26   (“The testimony of witnesses is admissible to explain * * * words or phrases having a local
                                       meaning or a special meaning in a particular calling, trade, business or profession. Such evidence
                                  27   does not contradict or change the written instrument.” (alteration in original) (quoting Steidtmann
                                       v. Joseph Lay Co., 84 N.E. 640, 642 (Ill. 1908))); see also LaSalle Nat. Bank v. Gen. Mills Rest.
                                  28   Grp., Inc., 854 F.2d 1050, 1052 (7th Cir. 1988) (holding that extrinsic evidence is admissible if a
                                       judge cannot “make sense of a written contract without” additional evidence).
                                                                                          19
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                                   1   fully integrated and thus were intended to be a “final, complete, and exclusive statement of” the

                                   2   agreements.

                                   3          Plaintiffs do not persuade. The evidence defendants have submitted in favor of their

                                   4   interpretation of the contracts between CVS and the BPMs simply do not fall within the ambit of

                                   5   the PER. The declarations and depositions of the PBM witnesses and CVS representatives about

                                   6   their understanding of the term U&C vis-a-vis the HSP program, along with any documents and

                                   7   emails generated around the time that the HSP program was being established in 2008 and 2009,

                                   8   are not “evidence of prior or contemporaneous oral agreements, or prior written agreements,”

                                   9   introduced to vary the terms of the contracts. Rather, they have been put forward to explain key

                                  10   terms in the contracts related to what the parties viewed as the “usual” and “customary” price for

                                  11   prescription drugs. Plaintiffs’ argument that the contracts are clear and unambiguous is belied by

                                  12   the contractual language itself. The term at issue—i.e., “Usual and Customary”—necessarily
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                                  13   requires an understanding of what is “usual” and “customary” between the parties and within the

                                  14   industry. Furthermore, the definitions of “U&C” within each contract introduce further

                                  15   ambiguities. For instance, under the Caremark contract, the definition states that the U&C price

                                  16   “must include any applicable discounts offered to attract customers.” (Dkt. No. 285-2 at 22

                                  17   (emphases supplied); see also Medco Pharmacy Services Manual, Dkt. No. 283-9 at 43 (same).)

                                  18   Which discounts are applicable is open to interpretation and thus requires further evidence of the

                                  19   parties’ intent and understanding.

                                  20          Thus, under the circumstances present here, the PER does not apply.13 Accordingly, the

                                  21   Court finds that the evidence submitted by defendants regarding the meaning of U&C is not barred

                                  22   on this ground.

                                  23                  2.      Admissibility of Defendants’ Evidence
                                  24          Plaintiffs next contend that the declarations and testimony of the PBM witnesses are not

                                  25   admissible because the witnesses (i) did not testify in their capacity as corporate representatives

                                  26

                                  27
                                              13
                                  28            The Court need not address defendants’ alternative argument that plaintiffs are
                                       incompetent to raise PER arguments because they are strangers to the agreements.
                                                                                     20
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                                   1   and therefore have no authority to bind their respective companies and (ii) lack personal

                                   2   knowledge of the contracts.

                                   3          Plaintiffs, again, do not persuade. While the majority of the declarants and deponents were

                                   4   not designated as corporate representatives pursuant to Federal Rule of Civil Procedure 30(b)(6),

                                   5   that does not necessarily render their testimony as lacking in foundation.14 The record put forward

                                   6   by the parties demonstrates otherwise. Each declarant has demonstrated sufficient knowledge of

                                   7   their respective PBM’s contractual arrangement with CVS with regard to the HSP program and

                                   8   U&C prices, either through their actual involvement in crafting the contracts at issue or their

                                   9   duties in implementing reimbursement programs between their respective companies and CVS.

                                  10   Specifically:

                                  11                  John Lavin (Caremark): Mr. Lavin is currently the Senior Vice President (“SVP”)
                                                       of Network Administration for Caremark, and has held that position since 2011.
                                  12                   (Dkt. No. 280-32 (“Lavin Decl.”) at ¶ 1.) Prior to holding that position, Mr. Lavin
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                                                       worked in various roles within Caremark and its predecessor, PCS Health Systems.
                                  13                   (Id. at ¶ 2.) In his current capacity as SVP, he is responsible for “managing
                                  14                   Caremark’s relationship with all of its network pharmacies,” including “pharmacy
                                                       contracting, pharmacy enrollment, network operations, provider-pharmacy audit,
                                  15                   pharmacy communications, network development, and other operations
                                                       responsibilities.” (Id. at ¶ 4.) Moreover, Mr. Lavin participated in the drafting and
                                  16                   negotiation of the agreement between CVS and PCS in 1997, which has been the
                                                       controlling base agreement between Caremark and CVS since November 2008.
                                  17
                                                       (Dkt. No. 276-5 (“Lavin Dep.”) at 41:10–42:14; Lavin Decl. ¶ 7.)
                                  18                  Amber Compton (Express Scripts): Ms. Compton is the current Vice President
                                                       (“VP”) of Retail Strategy & Contracting, which she has held since 2010. (Dkt. No.
                                  19
                                                       280-24 (“Compton Decl.”) at ¶¶ 1, 4.) Prior to that role, she held several
                                  20                   managerial and administrative roles at Express Scripts dating back to 2001. (Id. at
                                                       ¶ 4.) In her current role, she is responsible for “managing relationships and
                                  21                   negotiating provider agreements with pharmacies, ensuring network integrity, and
                                                       overseeing Express Scripts’ retail network.” (Id. at ¶ 3.) Through this work,
                                  22                   Compton avers that she has knowledge of U&C pricing. (Id. at ¶ 6.) Ms. Compton
                                                       further avers that she was aware that CVS was not submitting membership prices as
                                  23
                                                       its U&C and that Express Scripts did not object to that practice because it
                                  24

                                  25
                                              14
                                  26             These arguments pertain to the persuasiveness of the declarants’ evidence in
                                       demonstrating their corporations’ understanding and interpretation of the agreements. Moreover,
                                  27   as defendants represented to the Court at oral arguments—a representation which plaintiffs did not
                                       contest—plaintiffs had actually designated certain witnesses as Rule 30(b)(6) designees, yet
                                  28   withdrew those designations after they testified in their individual capacities. Thus, the lack of
                                       30(b)(6) evidence exists, in part, due to plaintiffs’ strategic decisions in this litigation.
                                                                                          21
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                                                  “understood the membership program price did not meet the definition of the U&C,
                                   1              as set forth in the Contract.” (Id. at ¶ 17.)
                                   2             Michael Reichardt (Optum): Mr. Reichardt currently serves as the Senior Director
                                                  for Network Relations, which he has held since January 2015. (Dkt. No. 280-30
                                   3              (“Reichardt Decl.”) at ¶ 1.) In that role, he is primarily responsible for “negotiating
                                   4              contracts and managing relationships with Optum’s network pharmacies, including
                                                  CVS” along with “managing staff and reviewing the pharmacy manual that applies
                                   5              to network pharmacies.” (Id.) Mr. Reichardt avers that throughout his career, he
                                                  has negotiated approximately eight contracts with network pharmacies. (Id.) Mr.
                                   6              Reichardt further avers that Optum takes a “consistent position with respect to
                                                  membership-based generic programs” and he is aware that “CVS did not submit its
                                   7
                                                  HSP price as its [U&C] price on claims adjudicated by Optum or its predecessors at
                                   8              any point during the duration of the program.” (Id. at ¶¶ 5, 12.)
                                                 William Barre (MedImpact): Mr. Barre is currently the VP of Business
                                   9
                                                  Development, a role he has held since 2010, and prior to that role Mr. Barre was
                                  10              the VP of Strategic Network Development (“SND”). (Dkt. No. 276-2 (“Barre
                                                  Dep.”) at 11:19–21, 12:7–19.) In his capacity as the VP of SND, Mr. Barre was
                                  11              responsible for negotiating pharmacy contracts for MedImpact, and he estimates
                                                  that he negotiated over a hundred such agreements. (Id. at 11:9–18.) Mr. Barre
                                  12              testifies that he negotiated the network agreement between CVS and MedImpact,
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                                                  which governs the current relationship between the two companies vis-a-vis
                                  13
                                                  reimbursements. (Id.at 17:10–22:4.)
                                  14             Franceen Spadaccino (Medco): Ms. Spadaccino worked at Medco from 1998
                                                  through 2013, and served as its Senior Director of Provider Relations and Network
                                  15
                                                  Strategy from 2006 through 2013. (Dkt. No. 280-26 (“Spadaccino Decl.”) at ¶ 1.)
                                  16              In that capacity, she was responsible for negotiating contracts with network
                                                  pharmacies, provider relations, and network strategy. (Id.) Ms. Spadaccino
                                  17              recalled “discussing membership-based generic programs with a number of [her
                                                  colleagues” and decided “that pharmacies who charged customers a fee to enroll in
                                  18              a membership-based generic program were not required to submit the program
                                  19              price as U&C” and she believes that she and her colleagues “discussed Medco’s
                                                  position with most of the pharmacies that offered membership-based generic
                                  20              programs.” (Id. at ¶ 6.) Though not part of her role, Ms. Spadaccino recalls that
                                                  Medco’s team “audited the U&C prices being submitted by pharmacies to ensure
                                  21              that Medco’s clients were getting the benefit of discounted pricing.” (Id. at ¶ 11.)
                                  22             William Strein (Medco): Mr. Strein worked for Medco from 1999 through 2012,
                                                  and served as VP of Provider Relations from 2008 through 2012. (Dkt. No. 280-25
                                  23              (“Strein Decl.”) at ¶ 2.) In that capacity, he was responsible for “negotiating PBM
                                                  contracts with pharmacies and representation for Medco at state and national
                                  24              professional pharmacy organizations, network pharmacy communications; policy
                                  25              development; dispute resolution and regulatory input at local, state, and national
                                                  levels as well as indirect support for Audit and Finance on network pharmacy
                                  26              matters.” (Id. at ¶ 3.) Mr. Strein avers that, upon learning of membership-based
                                                  programs, he and his colleagues “considered whether membership programs in any
                                  27              way affected the U&C price [their] pharmacies were required to include in each
                                                  claim” and “determined that Medco’s definition of ‘usual and customary’ in its
                                  28              Pharmacy Services Manual did not encompass membership program prices.” (Id.
                                                                                     22
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                                                       at ¶ 9.) Mr. Strein further avers that he was aware of the HSP program and, based
                                   1                   on his understanding of that program, concluded that “CVS was not required to
                                   2                   submit the HSP price as its U&C price on Medco claims.” (Id. at ¶ 11.)
                                                      Joseph Zavalishin (Aetna): Mr. Zavalishin is currently the SVP for Network
                                   3                   Relations for Optum, but joined Aetna in February 2004 as Head of Planning &
                                   4                   Business Strategy. (Dkt. No. 273-25 (“Zavalishin Decl.”) at ¶ 4.) In October 2006,
                                                       Mr. Zavalishin became VP of Pharmacy Networks and was responsible for
                                   5                   “provider infrastructure, provider relations and contracting, and quality
                                                       management.” (Id.) Mr. Zavalishin further avers that during his tenure at Aetna,
                                   6                   Aetna operated in-house PBM services, and he served as VP of that department.
                                                       (Id.) In his capacity as a VP at Aetna, he “negotiated and signed a new national
                                   7
                                                       agreement with CVS Pharmacy, Inc.[]—the National Pharmacy Services
                                   8                   Agreement (Jan. 15, 2009) between CVS and Aetna,” the contract at issue in this
                                                       litigation. (Id. at ¶ 6.) Mr. Zavalishin recalls “CVS asking Aetna to modify the
                                   9                   proposed language . . . to make clear that prescriptions purchased under CVS’s
                                                       HSP program would be exempt from the claim-submission requirement.” (Id. at ¶
                                  10                   16.) Aetna “agreed to modify [that section] to exclude HSP purchases from those
                                                       claims.” (Id.)
                                  11
                                              Such experience and background is sufficient to give each witness enough personal
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                                       knowledge to provide competent testimony regarding their respective organization’s
                                  13
                                       understanding of the contractual relationship with CVS. While some of the witnesses may not
                                  14
                                       have been personally involved with crafting the contracts at issue, their positions and job duties
                                  15
                                       pertain to managing the relationship between CVS and their respective companies and involve an
                                  16
                                       understanding of how their companies viewed U&C pricing. Whether that evidence is ultimately
                                  17
                                       persuasive does not pertain to the admissibility of their testimony and declarations. Accordingly,
                                  18
                                       the Court finds that such evidence is admissible for purposes of the instant summary judgment
                                  19
                                       motion, and hereby OVERRULES plaintiffs’ objection to the same.
                                  20
                                              B.       Merits of the Summary Judgment Motion
                                  21
                                              Plaintiffs bring claims under the UDAP laws of eleven different states,15 along with
                                  22
                                       common law claims for fraud, negligent misrepresentation, and unjust enrichment. While the
                                  23
                                       elements of each claim under the laws of each state differ, each claim shares certain elements. For
                                  24
                                       the purposes of the instant motion for summary judgment, each of the causes of action raised by
                                  25

                                  26

                                  27          15
                                                 Specifically, plaintiffs bring claims under the laws of the following states: Arizona,
                                  28   California, Florida, Georgia, Illinois, Massachusetts, New Jersey, New York, Ohio, Pennsylvania,
                                       and Texas.
                                                                                         23
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                                   1   plaintiffs requires (i) a misrepresentation or omission of a material fact16 that (ii) caused plaintiffs’

                                   2   injury.17 Because the Court finds, for the reasons set forth below, that plaintiffs have failed to

                                   3   raise a triable issue of fact with regard to the first element—that defendants made a

                                   4   misrepresentation or omission of a material fact—the Court need not address any issues relating to

                                   5   reliance or causation.

                                   6           The Court now turns to its analysis of the first element of plaintiffs’ claims. First, the

                                   7   Court provides a summary of the evidence submitted by both parties regarding the definition of

                                   8   U&C as it relates to the HSP program. Second, the Court discusses whether a triable issue of

                                   9   material fact exists as to any of plaintiffs’ causes of action.

                                  10

                                  11

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                                  13           16
                                                   Each of the causes of action under the UDAP laws of the eleven states and the common
                                  14   law claims for fraud and negligent misrepresentation require the existence of a misrepresentation
                                       or otherwise deceptive or fraudulent action. See, e.g., Castle v. Barrett-Jackson Auction Co., LLC,
                                  15   276 P.3d 540, 542 (Ariz. App. 2012) (holding that the Arizona Consumer Fraud Act requires a
                                       “false promise or misrepresentation”); Vasic v. PatentHealth, LLC, 171 F. Supp. 3d 1034, 1043
                                  16   (S.D. Cal. 2016) (stating that California’s Unfair Competition Law requires material
                                       misrepresentations); Cumis Ins. Soc’y, Inc. v. BJ’s Wholesale Club, Inc., 918 N.E.2d 36, 47 (Mass.
                                  17   2009) (common law fraud claim in Massachusetts requires a “false representation of material
                                       fact”); Pasternack v. Lab Corp. of Am. Holdings, 59 N.E.3d 485, 491 (N.Y. 2016) (common law
                                  18   fraud claim in New York requires a “misrepresentation or a material omission of fact”); Bortz v.
                                       Noon, 729 A.2d 555, 561 (Pa. 1999) (Pennsylvania negligent misrepresentation claim requires a
                                  19   “misrepresentation of a material fact”); Li-Conrad v. Curran, 50 N.E.3d 573, 578 (Ohio App.
                                       2016) (negligent misrepresentation in Ohio requires provision of “false information”). Because
                                  20   plaintiffs’ causes of action for unjust enrichment rest on the same allegations of wrongdoing, they
                                       also require a showing of a material misrepresentation. See, e.g., Levine v. Blue Shield of Cal.,
                                  21   189 Cal. App. 4th 1117 (2010) (“[T]he trial court properly [dismissed] . . . [plaintiffs’] claims for
                                       fraudulent concealment, negligent misrepresentation, and unfair competition. The [plaintiffs] thus
                                  22   have not demonstrated any basis on which they would be entitled to restitution pursuant to a
                                       theory of unjust enrichment.” (citations omitted)).
                                  23           17
                                                   Each cause of action requires a showing that the misrepresentation was the cause of
                                  24   plaintiffs’ injury, and, in some cases, requires a showing of reliance. See, e.g., Kuehn, 91 P.3d at
                                       351 (holding that under the Arizona Consumer Fraud Act, an “injury occurs when a consumer
                                  25   relies, even unreasonably, on false or misrepresented information”); Rikos v. Procter & Gamble
                                       Co., 799 F.3d 497, 514 (6th Cir. 2015) (under Illinois’ UDAP, plaintiff must demonstrate that
                                  26   plaintiff’s injury arises as “a result of the deception”); Townsend v. Morton, 36 So. 3d 865, 868
                                       (Fla. App. 2010) (common law fraud claim in Florida requires showing “consequent injury by the
                                  27   party acting in reliance on the representation”); Allstate N.J. Ins. Co. v. Lajara, 117 A.3d 1221,
                                       1231 (N.J. 2015) (fraud requires “reasonable reliance thereon by the other person”); Home Depot
                                  28   U.S.A., Inc. v. Wabash Nat’l Corp., 724 S.E.2d 53, 60 (Ga. App. 2012) (Georgia negligent
                                       misrepresentation claim requires “reasonable reliance upon [the] false information”).
                                                                                           24
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                                   1                  1.     The Evidence Regarding the Parties’ Understanding of the Agreements

                                   2                         a.      The Relevant Terms of the Agreements

                                   3          The parties have provided evidence relating to CVS’s agreements with five PBMs

                                   4   (Caremark, Express Scripts, Optum, Medco, and MedImpact) and one TPP (Aetna) (collectively,

                                   5   the “Six Intermediaries”). At issue in the instant action is whether defendants misrepresented the

                                   6   true U&C price to the PBMs, thereby resulting in higher copayments charged to the consumer at

                                   7   the point-of-sale. The relationship between each PBM and CVS generally is governed by a master

                                   8   agreement and sometimes supplemented by a pharmacy provider manual. Below are the

                                   9   definitions of U&C contained either in the relevant agreements or provider manuals between CVS

                                  10   and the Six Intermediaries for which the parties have provided evidence:

                                  11                 Caremark/PCS Agreement: “Usual and Customary price means the lowest price
                                                      the Provider would charge to a particular retail customer if such customer were
                                  12                  paying cash for an identical prescription on that particular day. This price must
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                                                      include any applicable discounts offered to attract customers.” (Dkt. No. 285-2 at
                                  13                  22.)
                                  14                 MedImpact Agreement: “Usual and Customary or U&C means the lowest price
                                                      Member Pharmacy would charge to a cash paying customer at that location for an
                                  15                  identical prescription on that day. This price must include any applicable
                                  16                  discounts, promotions, or other offers to attract customers.” (Dkt. No. 283-12 at
                                                      21.)
                                  17
                                                     Express Scripts Agreement: “‘Usual and Customary Retail Price’ means the
                                  18                  usual and customary retail price of a Covered Medication in a cash transaction at
                                                      the Pharmacy dispensing the Covered Medication (in the quantity dispensed) on the
                                  19                  date that it is dispensed, including any discounts or special promotions on such
                                                      date.” (Dkt. No. 285-1 at 5.)
                                  20
                                                     Medco (2009 Provider Manual): “The lowest net price a cash patient or customer
                                  21                  would have paid the day the prescription was dispensed, inclusive of all applicable
                                                      discounts. These discounts include, but are not limited to, senior citizen discounts,
                                  22                  ‘loss leaders,’ frequent shopper or special customer discounts, competitor’s
                                                      matched price, and other discounts offered to customers, including but not limited
                                  23
                                                      to buyer’s clubs with nominal membership fees, discount buying cards and
                                  24                  programs.” (Dkt. No. 285-3 at 77.)
                                                     Medco (2009/2010 Provider Manual): “The lowest net cash price a cash patient
                                  25
                                                      or customer would have paid the day the prescription was dispensed, inclusive of
                                  26                  all applicable discounts.” (Dkt. No. 283-9 at 43.)
                                                     Optum Agreement: “‘Usual and Customary’ shall mean and refer to the price that
                                  27
                                                      the Company Pharmacy would have charged the Member for the Prescription if the
                                  28                  Member was a cash customer. This includes all applicable discounts including, but

                                                                                       25
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                                                      not limited to Senior citizen discounts, frequent shopper and special customer
                                   1                  discounts, or other discounts.” (Dkt. No. 285-8 at 14.)
                                   2                 Optum Amended Agreement (January 29, 2015): “[T]he price that a cash
                                                      paying customer pays [Optum] for same Drug Products, devices, products and/or
                                   3                  supplies and same amount on date of service excluding any coupons or discount
                                   4                  card programs.” (Reichardt Decl. ¶ 8–9.)
                                                     Aetna Agreement: “The cash price less all applicable customer discounts which
                                   5                  Pharmacy usually charges customers for providing pharmaceutical services.” (Dkt.
                                   6                  No. 285-11 at 9.)
                                       The evidence demonstrates that many of these definitions were negotiated and set in place prior to
                                   7
                                       the establishment of defendants’ HSP program at issue in this litigation.
                                   8
                                                               b.    The Establishment of the HSP Program
                                   9
                                              Defendants operated the HSP program from November 9, 2008 through February 1, 2016.
                                  10
                                       (Defendants’ Statement of Undisputed Fact (“DSUF”) 2.) The following facts relate to the
                                  11
                                       development of the HSP program:
                                  12
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                                              In September 2006, Walmart announced that it would offer all customers 30-day supplies
                                  13
                                       of certain generic drugs for $4, without joining a program or paying a fee. (Id. at 35.) Similarly,
                                  14
                                       several other large stores such as Safeway followed suit and announced price reductions for select
                                  15
                                       generic drugs. (Id. at 36.) PBMs were aware of these price reductions and considered the new $4
                                  16
                                       prices charged by these stores as their U&C price. (Id. at 37–38.)
                                  17
                                              Beginning in November 2007, other pharmacies established savings club programs. For
                                  18
                                       instance, Walgreens launched a Prescription Savings Club, which required enrollment and
                                  19
                                       payment of a fee, and in September 2008, Rite Aid launched its Rx Savings program. (Id. at 39.)
                                  20
                                       In November 2008, defendants launched their own membership program called Health Savings
                                  21
                                       Pass. (Id. at 2.) The HSP program provided discounted pricing on hundreds of generic
                                  22
                                       prescription medications, including some of the most commonly prescribed drugs for
                                  23
                                       cardiovascular, allergy, and diabetes conditions, among others. (TAC ¶ 62.) From November 9,
                                  24
                                       2008 through 2010, cash paying customers could join the HSP program for a $10 fee, and be
                                  25
                                       entitled to $9.99 prices for a ninety-day supply of an HSP generic. (Id.) Beginning in 2011, CVS
                                  26
                                       raised the HSP enrollment fee to $15 a year and the cost of a ninety-day supply of an HSP generic
                                  27
                                       rose to $11.99. (Id.)
                                  28
                                                                                        26
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                                   1                         c.      The PBM and TPP Testimony Regarding the HSP Program

                                   2          The evidence related to the Six Intermediaries demonstrates that each was aware of the

                                   3   HSP program soon after it launched. (See, e.g., Compton Decl. ¶ 12 (Express Scripts “was aware

                                   4   of CVS having a membership program”); Lavin Decl. ¶ 22 (Caremark learned of HSP “[a]t or

                                   5   within several months of . . . launch”); Zavalishin Decl. ¶¶ 7–8 (Aetna “learned that CVS was

                                   6   launching a generic drug membership program called Health Savings Pass” around the time Aetna

                                   7   was negotiating its contract with CVS late in 2008).) The following summarizes the evidence in

                                   8   the record related to the understanding and knowledge of the Six Intermediaries with respect to

                                   9   CVS’s HSP program:

                                  10                 Caremark/PCS: Lavin testified that after Walgreens instituted its program in
                                                      2007, Caremark worked with its legal team to evaluate that and similar programs
                                  11                  under Caremark’s contracts. (Lavin Dep. 105:22–106:25.) He averred that within
                                                      several months of the HSP program’s launch, he discussed HSP with CVS’s then
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                                                      Vice President of Managed Care, and was informed that CVS would not be
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                                  13                  submitting the HSP program as its U&C. Lavin further averred that he agreed that
                                                      the CVS-Caremark agreement did not require HSP prices to be passed through as
                                  14                  U&C, and that the term “applicable discounts” did not include the HSP price.
                                                      (Lavin Decl. ¶¶ 21–22.)
                                  15
                                                     MedImpact: Barre testified that MedImpact considered U&C as the “price of that
                                  16                  product [] at that store at that given point in time” for “someone that has walked off
                                                      the street” without a form of prescription benefit. (Barre Dep. 24:6–27:3.) Barre
                                  17                  further testified that MedImpact distinguished between “active” and “passive”
                                                      pricing. Simply put, in an active model, the person had to have undertaken an
                                  18
                                                      action to register into the program whereas in a passive model, the person
                                  19                  automatically receives the lower price. (Id.) According to Barre, MedImpact did
                                                      not consider active pricing models, such as HSP, as an applicable discount for the
                                  20                  purposes of its U&C definition. (Id. at 30:16–33:7.)

                                  21                 Express Scripts: Compton testified that Express Scripts made a business decision
                                                      that when the “[p]atient had to choose to participate in the program,” it was Express
                                  22                  Scripts’ position that that person “was outside of the usual and customary retail
                                                      pricing.” (Compton Dep. 19:16–22:4.) Compton averred that Express Scripts was
                                  23                  “aware that CVS was not submitting . . . the membership program prices as U&C
                                                      price” and “did not object to CVS’s approach because Express Scripts understood
                                  24
                                                      that the membership program price did not meet the definition of the U&C, as set
                                  25                  forth in the contract.” (Compton Decl. ¶¶ 17–18.)
                                                     MedCo: Strein testified that MedCo had a general policy that membership
                                  26
                                                      programs were not considered U&C because it “wasn’t available to all” but rather
                                  27                  only to some “who chose to take additional actions.” (Strein Dep. 91:7–94:22.) As
                                                      such, MedCo did not consider HSP prices to constitute U&C because “CVS
                                  28                  required HSP members to affirmatively opt into the program.” (Strein Decl. ¶ 11;
                                                                                        27
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                                                     see also Spadaccino Decl. ¶ 10 (averring the same because a “regular customer
                                   1                 paying the retail price (i.e., the cash customer) who did not join the program was
                                   2                 not entitled to the same pricing structure”).)
                                                    Optum: Reichardt avers that the amendment to the agreement in 2015 explicitly
                                   3                 excluding discount programs “memorialized both parties’ prior understanding that
                                   4                 CVS was not required to submit its [HSP] price as its [U&C] price on claims
                                                     submitted to Optum.” (Reichardt Decl. ¶ 10.) Reichardt explained that “Optum
                                   5                 did not consider HSP members, who had affirmatively enrolled in a program, to be
                                                     “cash customers.” (Id. at ¶ 11.) Reichardt further explained that Optum’s general
                                   6                 policy was that if a “pharmacy required a customer to enroll in a program in order
                                                     to access the membership program’s prices, then neither Optum nor Prescription
                                   7
                                                     Solutions required the pharmacy to submit the program’s prices as U&C.” (Id. at ¶
                                   8                 12.)
                                                    Aetna: Zavalishin averred that on or about December 15, 2008, while he was
                                   9
                                                     negotiating Aetna’s contract with CVS, he received an email from CVS about the
                                  10                 HSP program. He agreed with defendants that under the agreement, defendants did
                                                     not need to submit the HSP price as U&C. (Zavalishin Decl. ¶¶ 10–13.)
                                  11
                                       Defendants contend that the evidence described above demonstrates the PBM and TPP
                                  12
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                                       understanding of the agreements, and therefore proves that no misrepresentations were made.
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                                  13
                                                             d.      Evidence Purporting to Demonstrate HSP Prices Should Be U&C
                                  14
                                              In addition to the contractual language, plaintiffs proffer that the following types of
                                  15
                                       documents demonstrate—or at least create a genuine dispute of material fact—that defendants
                                  16
                                       were aware of and were concerned that its HSP program prices would be considered as U&C:
                                  17
                                                    May 9, 2008 Presentation: An internal presentation discussing “Cash card
                                  18                 program offering recommendations,” in which defendants recognized that
                                                     “[m]aking the program ‘too attractive’ creates higher risk for our 3rd party plan
                                  19                 pricing and profitability.” (Dkt. No. 306-2 at 5.)
                                  20                August 18, 2008 Presentation: Slide in the presentation calls for the need to
                                                     “understand financial implications” because “PBM clients are likely to request
                                  21                 access to that level of pricing for their plan participants” and “[c]reation of a CVS
                                                     retail cash program may put increasing pressure on 3rd party reimbursements from
                                  22                 other payers.” (Dkt. No. 302-9 at 9.)
                                  23                January 19, 2009 Email: Emails between CVS executives demonstrating concern
                                                     over the broad definition of U&C in Medco’s 2009 provider manual. (Dkt. No.
                                  24                 302-22 at 2.) Scott Tierney writes the he is “concerned that it is asking for our HSP
                                  25                 rates” and indicates that the manual “appears to be fairly recent” and that CVS
                                                     “should challenge it.” (Id.)
                                  26                February 2009 Email Chain: Internal CVS emails asking employees to gather
                                  27                 definitions of U&C within PBM and TPP contracts and provider manuals. (Dkt.
                                                     No. 302-12.)
                                  28
                                                                                        28
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                                                      June 25, 2010 Landscape Strategy Document: Discussing a scenario where state
                                   1
                                                       Medicaid programs required HSP pricing, defendants hypothesized that such
                                   2                   “would lead to Private payers demanding the same price” leading to HSP becoming
                                                       U&C. (Dkt. No. 302-24 at 17.)
                                   3
                                                      July 2010 Email and Memos: After Connecticut instructed CVS to report its HSP
                                   4                   price as its U&C for Connecticut Medicaid purposes, defendants prepared an
                                                       internal memorandum to “[i]dentify alternative solutions, whereby the passing of
                                   5                   the HSP pricing on CT Medicaid claims would not place CVS at risk with our HSP
                                                       customers, the state of CT, all other state Medicaid programs, and the commercial
                                   6                   sector.” (Dkt. No. 306-6 at 5.)
                                   7                  December 6, 2012 ScriptSave Business Case: ScriptSave sought to administer
                                                       defendants’ CVS program and presented defendants with their plan for doing so.
                                   8                   In this presentation, ScriptSave indicated that they could minimize “the risk of third
                                                       party U&C ‘discussions,’” indicating that a “ScriptSave program can allow CVS to
                                   9
                                                       protect its third party reimbursement levels.” (Dkt. N0. 302-21 at 4.) A January
                                  10                   25, 2013 email further explains that ScriptSave has “proven strength and expertise”
                                                       in their “comprehensive analytical approach throughout the product life cycle,
                                  11                   including formulary management and innovation, Usual and Customary pricing
                                                       strategies to ‘protect’ loyalty member price from third parties, competitive market
                                  12                   intelligence, and compliance with state and federal guidelines—specific to
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                                  13                   pharmacy savings programs.” (Dkt. No. 302-23 at 2.)
                                       In addition to demonstrating defendants’ acknowledgement of the risks that PBMs and TPPs will
                                  14
                                       consider their HSP prices as U&C, the documents cited above and other documents refer to the
                                  15
                                       HSP program as a “cash” program, which, plaintiffs argue, further demonstrates that HSP prices
                                  16
                                       should have been submitted as U&C.18
                                  17
                                                       2.     No Genuine Dispute of Material Fact
                                  18
                                              Plaintiffs argue that at least triable issues of fact exist that under the agreements defendants
                                  19
                                       were required to submit their HSP prices as U&C prices. Specifically, plaintiffs argue: (i) that the
                                  20
                                       contracts each define U&C as a cash price; (ii) several documents refer to HSP as a “cash”
                                  21
                                       program; (iii) the contracts require CVS to include all applicable discounts as part of their U&C
                                  22
                                       calculation; and (iv) contemporaneous internal emails demonstrate that defendants acknowledged
                                  23
                                       that HSP could be considered by others as a U&C price.
                                  24

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                                              18
                                  27              Plaintiffs also argue that a triable issue of material fact exists as to whether the HSP
                                       program was a bona fide membership program, based on Dr. Hay’s analysis. For the same reasons
                                  28   the Court rejected those arguments in the context of defendants’ motion to exclude Dr. Hay’s
                                       opinions, the Court rejects them here. (See supra.)
                                                                                           29
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                                   1          Plaintiffs’ claims of misrepresentation rely on defendants breaching their contract with the

                                   2   PBMs and TPPs by submitting false U&C prices. That analysis turns on whether defendants were

                                   3   required to submit HSP program rates as their U&C prices under each of the relevant agreements.

                                   4   With regard to how PBMs and TPPs viewed defendants’ HSP programs in that context, the only

                                   5   evidence that exists in the record is that of the PBM and TPP executives who filed declarations or

                                   6   were deposed on behalf of defendants. Invariably, each averred to their understanding that

                                   7   defendants were not required to submit the HSP program prices as U&C. Plaintiffs have offered

                                   8   no contrary evidence.

                                   9          The evidence plaintiffs have put forward is not sufficient to create a dispute of material

                                  10   fact as to whether defendants breached their agreements with the PBMs and TPPs. That

                                  11   defendants exhibited concern about how PBMs and TPPs would view the HSP program—while

                                  12   relevant—is ultimately inconsequential in light of evidence demonstrating that the PBMs and
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                                  13   TPPs were aware of the HSP program, knew that defendants were not submitting HSP rates as

                                  14   their U&C, and yet did nothing to compel defendants to do so. Rather, that sequence of events

                                  15   provides further support for defendants’ position that the PBMs and TPPs legitimately did not

                                  16   view HSP prices as U&C. In some cases, the PBMs even amended the agreement to exclude

                                  17   explicitly membership programs from their definition of U&C. Equally unavailing is plaintiffs’

                                  18   argument that because defendants have referred to the HSP program as a cash program and U&C

                                  19   is the price paid by a cash-paying customer, HSP is therefore U&C. Some references to the HSP

                                  20   program as a “cash script” or “cash discount program” do not contradict the evidence in the record

                                  21   demonstrating the PBMs’ and TPP’s understanding of their agreements with defendants.

                                  22          Thus, the Court finds that no genuine issue of material fact exists as to whether defendants

                                  23   misrepresented the U&C price to the PBMs.19 The Court need not address issues related to

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                                              19
                                  25               Plaintiffs have further argued that whether defendants made misrepresentations to the
                                       PBMs is immaterial to their claims because defendants had independent obligations to their
                                  26   customers who are third-party beneficiaries of the CVS-PBM agreements. Specifically, they argue
                                       that as third-party beneficiaries to the agreements, they can bring consumer-protection claims
                                  27   arising out of a breach of contract. However, and without resolving whether plaintiffs are actually
                                       third-party beneficiaries to the contracts, that claim still requires an underlying breach of contract.
                                  28   And, if a breach did exist, plaintiffs need not be third-party beneficiaries to the agreements to raise
                                       the UDAP and common law claims brought here. However, absent a misrepresentation from
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                                   1   reliance or causation here, where plaintiffs have failed to satisfy a necessary element of each of

                                   2   their claims. Accordingly, the Court GRANTS summary judgment in favor of defendants.

                                   3   VI.      CONCLUSION

                                   4            For the foregoing reasons, the Court ORDERS as follows: The Court GRANTS IN PART

                                   5   plaintiffs’ motion for class certification, and CERTIFIES the following state classes:

                                   6            1) California Class: All CVS customers in California who, between November
                                                2008 and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                   7            prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                                program at the time of the purchase; (2) were insured for the purchase(s) through
                                   8            a third-party payor plan administered by Caremark/PCS or Optum; and (3) paid
                                   9            CVS an out-of-pocket payment for the purchase greater than the HSP price for the
                                                prescription.
                                  10            2) Florida Class: All CVS customers in Florida who, between November 2008
                                                and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                  11
                                                prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                  12            program at the time of the purchase; (2) were insured for the purchase(s) through
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                                                a third-party payor plan administered by Caremark/PCS; and (3) paid CVS an out-
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                                  13            of-pocket payment for the purchase greater than the HSP price for the
                                                prescription.
                                  14
                                                3) Illinois Class: All CVS customers in Illinois who, between November 2008
                                  15            and July 31, 2015 (the “Class Period”), (1) purchased one or more generic
                                                prescription drugs that were offered through CVS’s Health Savings Pass (“HSP”)
                                  16            program at the time of the purchase; (2) were insured for the purchase(s) through
                                                a third-party payor plan administered by Caremark/PCS; and (3) paid CVS an out-
                                  17
                                                of-pocket payment for the purchase greater than the HSP price for the
                                  18            prescription.
                                                4) Massachusetts Class: All CVS customers in Massachusetts who, between
                                  19
                                                November 2008 and July 31, 2015 (the “Class Period”), (1) purchased one or
                                  20            more generic prescription drugs that were offered through CVS’s Health Savings
                                                Pass (“HSP”) program at the time of the purchase; (2) were insured for the
                                  21            purchase(s) through a third-party payor plan administered either by Express
                                                Scripts or MedImpact; and (3) paid CVS an out-of-pocket payment for the
                                  22            purchase greater than the HSP price for the prescription.
                                  23   The Court DENIES WITHOUT PREJUDICE plaintiffs’ motion to certify a New York and Arizona
                                  24   class because the proposed class representatives fail to satisfy the typicality requirement of Rule
                                  25   23(a).
                                  26

                                  27
                                       defendants to the PBMs regarding their true U&C price, no such breach of contract exists. Thus,
                                  28   as the Court has previously explained, plaintiffs’ claims are inextricably tied to whether
                                       defendants made any misrepresentations to the PBMs in the first instance.
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                                   1          The Court GRANTS IN PART defendants’ motion to strike certain opinions by Dr. Hay and

                                   2   STRIKES Dr. Hay’s opinion that HSP prices are U&C, but DENIES defendants’ motion otherwise.

                                   3   The Court GRANTS defendants’ motion for summary judgment.

                                   4          Defendants must file a proposed judgment, approved as to form by all parties, within five

                                   5   business days of this Order.

                                   6          This Order terminates Docket Numbers 271, 274, and 287.

                                   7          IT IS SO ORDERED.

                                   8

                                   9   Dated: September 5, 2017
                                                                                                YVONNE GONZALEZ ROGERS
                                  10                                                       UNITED STATES DISTRICT COURT JUDGE
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